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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION

        ELIZABETH SINES, et al.,
                                                   CASE NO. 3:17-cv-00072
                                    Plaintiffs,

                          v.
                                                   NOTICE
        JASON KESSLER, et al.,

                                   Defendants.
                                                   JUDGE NORMAN K. MOON




                            Monday, October 25, 2021 at 9:30 a.m.


       ANTICIPATED CIVIL JURY SELECTION INTRODUCTORY REMARKS


         After the judge takes the bench, the jurors will be brought into the courtroom
   and seated throughout gallery in random order.

  I.        THE CLERK CALLS THE CASE

            Will the Clerk please call the case?

            Is everyone ready to proceed? Are Plaintiffs’ counsel ready? Are Defendants’

   counsel ready?


 II.        INTRODUCTION

            Thank you for coming in today.

            [[COVID Notices]]
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         Before we begin the process of juror selection, I first wish to give you a brief

   overview of some of the steps the Court has taken and is taking to minimize the risk

   of spread of COVID-19.

         First, the standing orders of this Court require everyone to wear a mask that

   covers their nose and mouth while in public areas of the courthouse, unless a court

   official specifically directs otherwise. That applies to everyone. Whether vaccinated

   or unvaccinated.

         Second, access to the courthouse has been limited to persons involved in this

   case. That includes court staff, litigants, attorneys, witnesses, and limited media.

         Third, the Court has ordered all persons in the courtroom to practice social-

   distancing, except counsel, litigants, and court staff.

         Fourth, pursuant to the Court’s standing orders, all court employees, including

   judges, chambers staff, and staff of the Clerk’s Office, must either be vaccinated or

   conduct a COVID-19 test at least weekly.

         Fifth, this Court has specifically ordered all litigants, lawyers, witnesses and

   court staff in this case to attest before coming into the courthouse that they are either

   vaccinated or have tested negative within 3 days of their appearance. If there are any

   witnesses who can’t meet those rules, they would testify by Zoom.

         Sixth, the Court has ordered extra cleaning of touchpoints, frequently touched

   surfaces, and bathrooms during this trial.
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          And lastly, specifically for jurors: The Court will require all jurors (of which

   the Court expects there will be 12 jurors), to be always masked. Jurors will also be

   socially distanced in the gallery.

          [[Summary of Case]]

          Before we begin the process of juror selection, I wish to give you a general

   overview of this case so that you know what it is about and can better answer my

   questions. This is a civil lawsuit brought by multiple Plaintiffs against multiple

   Defendants, including individuals and organizations, based on events that occurred

   in Charlottesville, Virginia in August 2017. The Plaintiffs in this case claim that the

   Defendants and others conspired to commit racially motivated violence at an event

   the Defendants called United the Right, which was held in Charlottesville on August

   11 and 12, 2017. Plaintiffs allege that the Defendants helped to plan, promote, or

   carry out racially motivated violent acts during that event and, in doing so, caused

   Plaintiffs physical, emotional, and monetary harm. Such acts include a violent torch

   march on August 11, and various acts of violence on August 12, including a car

   attack that drove through a large crowd of people, injuring seven of the nine

   Plaintiffs in this case.

          Defendants deny that they conspired with anyone to commit violence or that

   they are responsible for any injury or damages suffered by Plaintiffs.

          If you are selected to serve as a juror in this case, you will be asked to decide
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   whether the Plaintiffs proved that the Defendants engaged in a conspiracy to commit

   racially motivated violence and harmed Plaintiffs as a result. Later, I will explain the

   elements of each of Plaintiffs’ claims in greater detail to those of you who serve on

   the jury.
